 

UNITED STATE_S DISTRICT CGURT D 60
case 3:18-@v-FQ§P€THEWT-HERNWP§%§;IE@P€GMI:§§§§S;

 

 

 

 

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Plaintiff ga \g,C\/ _GO§»))ZA@
V. Case Number
\LW s¢ \M (Gw€ sw
Defendant

 

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* Attach additional pages as needed.

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